                                          Case 4:14-cv-00695-JST Document 141 Filed 02/24/16 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        MICHELLE-LAEL B. NORSWORTHY,
                                   7                                                        Case No. 14-cv-00695-JST
                                                       Plaintiff,
                                   8                                                        MINUTE ORDER NOTING DISMISSAL
                                                v.
                                   9                                                        Re: ECF No. 139
                                        SCOTT KERNAN, et al.,
                                  10
                                                       Defendants.
                                  11

                                  12          Before the Court is a joint Stipulation for Voluntary Dismissal with Prejudice. ECF No.
Northern District of California
 United States District Court




                                  13   139.

                                  14          The case is currently on remand from the Ninth Circuit. Norsworthy v. Beard, 802 F.3d

                                  15   1090, 1092 (9th Cir. 2015). The California Department of Corrections and Rehabilitation

                                  16   (“CDCR”) had appealed this Court’s prior preliminary injunction order requiring it to provide Ms.

                                  17   Norsworthy with adequate medical care, see ECF No. 94, and argued to the Ninth Circuit that the

                                  18   case had become moot upon the CDCR’s decision to release Ms. Norsworthy on parole,

                                  19   Norsworthy, 802 F.3d at 1092. The Ninth Circuit instructed this Court to determine on remand

                                  20   whether the CDCR’s appeal had become moot “through happenstance or the defendants’ own

                                  21   actions,” and if the latter, whether this Court should vacate its preliminary injunction order under

                                  22   Ringsby Truck Lines, Inc. v. Western Conference of Teamsters, 686 F.2d 720, 722 (9th Cir.

                                  23   1982). Id. at 1093. This Court then held a Case Management Conference and set a schedule for

                                  24   the parties to take discovery on the question posed by the Ninth Circuit. See ECF Nos. 135, 136,

                                  25   137.

                                  26          The parties have now filed a stipulation of dismissal dated February 23, 2016, stating that

                                  27   they have agreed to a settlement of this action. ECF No. 139. Since the stipulation is signed by all

                                  28   parties who have appeared, it is effective without court order pursuant to Federal Rule of Civil
                                          Case 4:14-cv-00695-JST Document 141 Filed 02/24/16 Page 2 of 2




                                   1   Procedure 41(a)(1)(A)(ii). Accordingly, the Court dismisses the case with prejudice, without

                                   2   reaching the question of whether the appeal has become moot through happenstance or the

                                   3   defendants’ own actions, or whether there is sufficient cause to vacate its prior preliminary

                                   4   injunction order.

                                   5           The Case Management Conference scheduled for March 1, 2016 is hereby vacated. The

                                   6   Clerk shall close the file.

                                   7           IT IS SO ORDERED.

                                   8   Dated: February 24, 2016
                                                                                       ______________________________________
                                   9
                                                                                                     JON S. TIGAR
                                  10                                                           United States District Judge

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                         2
